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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                  No. 16 CR 575
        v.
                                                  Judge Thomas M. Durkin
 JOHN ROGERS

     GOVERNMENT=S SUPLEMENTAL SENTENCING MEMORANDUM

       The UNITED STATES OF AMERICA, by JOHN R. LAUSCH, JR., United

States Attorney for the Northern District of Illinois, hereby submits this

Supplemental Sentencing Memorandum with respect to defendant John Rogers in

the above-captioned matter.

I.     Introduction and Background

       On November 7, 2017, the government filed its Sentencing Memorandum that

included a detailed description of the offense conduct and an analysis of the relevant

sentencing factors in this case. R. 26. The description and analysis contained in the

memorandum are incorporated herein. Subsequent to the filing of the government’s

memorandum, the Court held a lengthy bond revocation hearing on November 20,

2017, and the Probation Office filed a Supplement to the Presentence Report on

November 21, 2017.

       At the November 20 hearing, FBI Special Agent Brian Brusokas testified and

the government presented numerous pieces of evidence and documents establishing

that Rogers continued to commit fraud after being charged in this case and after he


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entered his guilty plea in this case. The evidence established that while on bond, he

worked with two other individuals to commit more of the same illegal conduct that

he had done in the past—defrauding sports memorabilia customers.

        Some of these new victims (Individual AS and Individual JR) are the same

victims he defrauded as part of his underlying fraud scheme. While these victims

knew Rogers had been charged in the Northern District of Illinois for defrauding

them prior to 2014, they were not aware that he orchestrated their 2017 purchases

of phony trophies that he created while on bond. That’s because rather than lying

directly to their faces as Rogers had done in the past, this time he used a co-scheming

proxy to handle his dirty work and deceive them without their knowledge he was

involved. This new wave of his fraudulent activity involved phony trophies, footballs,

basketballs, and even a fake Mickey Mantle silverware set that Rogers and his co-

schemers sold to victims as authentic in exchange for thousands of dollars.

        As noted in the defendant’s memorandum (R. 32), Rogers falsely denied any

knowledge of this fraudulent activity during a conference with the government, and

remained unwilling to admit his role in the fraud at the November 20 bond hearing.

Following the hearing, the Court found probable cause to believe Rogers committed

criminal conduct while on pre-trial release and detained him pending sentencing.

II.     Sentencing Guidelines and Non-Acceptance of Responsibility

        The Probation Office filed a Supplemental Report on November 21, 2017, with

a revised Guideline calculation. The report notes that based on the new criminal


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conduct, Rogers is not eligible for a reduction for acceptance of responsibility and his

total offense level is 39 (rather than the 36 contained in the original PSR). The

Probation Officer’s Supplemental Report notes that Application Note 1(B) to USSG §

3E1.1 states that a defendant who does not voluntarily terminate or withdraw from

criminal conduct or associations will not be eligible for a reduction for acceptance of

responsibility.

         The probation officer has correctly determined that based on the new

information it is evident that Rogers’ criminal conduct has not ceased. Therefore, a

downward adjustment for acceptance of responsibility is no longer applicable. USSG

§§3E1.1 (a) and (b). The total offense level of 39 establishes an advisory Guideline

range that is greater than the statutory maximum, therefore the advisory sentence

recommended by the Sentencing Commission is 240 months.

III.     A Sentence to a Term of 161 Months’ Imprisonment is the Appropriate
         Sentence Under the Section 3553(a) Factors

         In the government’s original sentencing memorandum the government

included its analysis of the relevant factors under 18 U.S.C §3553(a), which the Court

must consider in imposing sentence in this case. The government will not repeat the

points it made in the memorandum, but incorporates the analysis here. It recognized

Rogers’ assistance to the government back in 2014, his lack of a criminal history, and

the fact that much of the money he obtained through his fraud scheme was use to

keep his businesses running. Balancing those factors with those in 18 U.S.C §3553(a),

including the offense conduct, the history and characteristics of the defendant, the

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need for deterrence, and the need to promote respect for the law, the government

believes that a substantial period of custody should be imposed by the Court. A

sentence of 161 months’ is sufficient but not greater than necessary to address and

achieve the goals of 18 U.S.C §3553(a).

        This sentence is substantial but takes into account the Ponzi scheme the

defendant ran for years, the victims he defrauded, and the serious financial damage

he inflicted on those victims. It also takes into account his new criminal conduct—the

extent and scope of which was presented in detail to the Court at the November 20

hearing—and the significant increase in the Guideline range resulting from this new

conduct. The defendant’s conduct in this case is serious, and his inability to accept

responsibility for his actions and continue to commit more crimes while on bond speak

volumes as to his disrespect for his victims and the rule of law. A sentence of 161

months’ provides just punishment for the criminal conduct committed by this

defendant.

IV.     Restitution

        Since the government submitted its latest version of the offense to the Court,

it has received an updated loss amount from Individual RF. The government has

provided the detailed accounting of this loss amount to the defendant. The updated

total provided by Individual RF is $1,289,750. As a result, the total amount of

restitution owed by the defendant to the victims in this case is $23,552,370.




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V.     Conclusion

       For the foregoing reasons, the government respectfully requests that this

Court impose a sentence of 161 months= imprisonment, $23,552,370 in restitution,

and a $100 special assessment.

                                             Respectfully submitted,

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                                             United States Attorney

                                       By:   /s/ Derek Owens
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